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      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                 ECO-031


      Nos. 23-1647, 23-1648, 23-1649, 23-1650, 23-1651, 23-1652, & 23-1781



           OI European Group B.V. v. Bolivarian Republic of Venezuela
                         (D. Del. No. 1-19-mc-00290)
 Northrop Grumman Ship Systems, Inc., formerly known as Ingalls Shipbuilding, Inc.
             v. The Ministry of Defense of the Republic of Venezuela
                          (D. Del. No. 1-20-mc-00257)
   ACL1 Investments Ltd., ACL2 Investments Ltd., and LDO (Cayman) XVIII Ltd.
                      v. Bolivarian Republic of Venezuela
                           (D. Del. No. 1-21-mc-00046)
            Rusoro Mining Limited v. Bolivarian Republic of Venezuela
                          (D. Del. No. 1-21-mc-00481)
              Koch Minerals Sàrl and Koch Nitrogen International Sàrl
                      v. Bolivarian Republic of Venezuela
                          (D. Del. No. 1-22-mc-00156)
               Gold Reserve Inc. v. Bolivarian Republic of Venezuela
                          (D. Del. No. 1-22-mc-00453)



Present: MATEY and FREEMAN, Circuit Judges

     1. Motion filed by Appellant Petróleos de Venezuela, S.A., in Nos. 23-1647, 23-
        1648, 23-1649, 23-1650, 23-1651, and 23-1652 to Stay Pending Appeals;

     2. Response in Opposition on behalf of Appellee OI European Group B.V. to
        Motion for Stay;

     3. Response in Opposition on behalf of Appellee Northrop Grumman Ship
        Systems, Inc., to Motion for Stay;

     4. Response in Opposition on behalf of ACL1 Investments Ltd., ACL2
        Investments Ltd., and LDO (Cayman) XVIII Ltd. to Motion for Stay;
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       5. Response in Opposition on behalf of Appellee Rusoro Mining Limited to
          Motion for Stay;

       6. Response in Opposition on behalf of Appellees Koch Minerals Sàrl and Koch
          Nitrogen International Sàrl to Motion for Stay;

       7. Response in Opposition on behalf of Appellee Gold Reserve Inc. to Motion for
          Stay;

       8. Reply on behalf of Appellant Petróleos de Venezuela, S.A., to Responses

                                                        Respectfully,
                                                        Clerk/JK

_________________________________ORDER________________________________

       The foregoing motion for a stay is REFERRED to the panel of this Court that will
decide the merits of these appeals. In the meantime, a temporary administrative stay is
hereby ordered: additional proceedings in the six district-court actions on appeal are
STAYED pending further order of this Court.

      These seven appeals are EXPEDITED. The following peremptory schedule will
govern merits briefing:

       the appellants’ opening brief(s) must be filed on or before May 19, 2023;
       the appellees’ response brief(s) must be filed on or before June 2, 2023;
       any reply brief(s) must be filed on or before June 9, 2023.

These deadlines will not be extended absent extraordinary circumstances.

       These appeals will proceed to a merits panel for disposition promptly after all
briefs have been filed.


                                                        By the Court,

                                                        s/ Paul B. Matey
                                                        Circuit Judge

Dated: May 5, 2023
JK/cc: All Counsel of Record
                                                                     A True Copy:



                                                                     Patricia S. Dodszuweit, Clerk
